     Case: 1:03-cv-04265 Document #: 78 Filed: 11/17/05 Page 1 of 3 PageID #:404



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LEE CROSS,                             )
                                       )
                           Plaintiff,  )               03 C 4265
                                       )
              v.                       )
                                       )
Chicago Police Officers RUBEN WEBER, )                 Magistrate Judge Cole
Star #19588 and KRISTI BATTALINI, Star )
#16027, and the CITY OF CHICAGO,       )
                                       )
                           Defendants. )

               DEFENDANTS’ MOTION FOR ENTRY OF BILL OF COSTS

        Defendants, the City of Chicago (“City”), by Mara S. Georges, Corporation Counsel, and

Chicago Police Officers Ruben Weber and Kristi Battalini (“Defendant Officers”), by one of

their attorneys, Kathryn M. Doi, Assistant Corporation Counsel of the City of Chicago, pursuant

to 28 U.S.C. § 1920, Fed. R. Civ. P. 54(d) and LR 54.1 of the Local Rules of the Northern

District of Illinois, hereby submit a Bill of Costs, which is attached, setting forth the costs they

incurred in the defense of this matter.

        1.     On June 23, 2003, Plaintiff Lee Cross, pro se, filed a complaint against the City of

Chicago and two Chicago police officers, Weber and Battalini, alleging various causes of action

arising from two incidents which occurred in 2003 that each involved a stop of Plaintiff and

seizure of Plaintiff’s money as suspect drug funds.

        2.     On November 19, 2004, Judge Kennelly granted Defendant City and Defendant

Officers’ Motions for Summary Judgment in part, dismissing all state claims against Defendant

Officers, and dismissing all claims Defendant City except one, for indemnification of the

officers.
    Case: 1:03-cv-04265 Document #: 78 Filed: 11/17/05 Page 2 of 3 PageID #:405



       3.      On October 19 and 20, 2005, a jury trial on the merits of the remaining claims

against the Defendant Officers was held. The jury rendered a verdict in favor of Defendants

Weber and Battalini and against Plaintiff on October 20, 2005. This Court issued an order

entering judgment on the jury verdict on October 20, 2005.

       4.      During the two years this case was pending, the parties were engaged in lengthy

settlement discussions. Despite the futility of his claims, Plaintiff refused to settle the case,

thereby forcing Defendants to incur significant costs in continued litigation of the matter.

       6.      In order to defend themselves, Defendants were forced to incur certain costs, as

set forth in Defendants’ Bill of Costs and Itemization of Bill of Costs attached to this motion.

       7.      As the prevailing parties, Defendants are entitled to recover the costs set forth in

the attached Bill of Costs, for the reasons set forth more fully in the attached Memorandum in

Support of Bill of Costs.

       WHEREFORE, Defendants City of Chicago and Defendant Officers Ruben Weber and

Kristi Battalini respectfully submit their Bill of Costs, which totals Four Thousand Three

Hundred Eight and 20/100 Dollars ($4,308.20), against Plaintiff Lee Cross.



Dated: November 17, 2005

                                               Respectfully Submitted,

                                               /s/ Kathryn M. Doi
                                               KATHRYN M. DOI
                                               Assistant Corporation Counsel

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    Case: 1:03-cv-04265 Document #: 78 Filed: 11/17/05 Page 3 of 3 PageID #:406



                                      Mara S. Georges
                                      Corporation Counsel for the City of Chicago

                               By:    /s/ George J. Yamin, Jr.
                                      GEORGE J. YAMIN, JR.
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